
Affirmed by unpublished per curiam opinion.
Unpublished opinions are not binding precedent in this circuit. See Local Rule 36(c).
PER CURIAM.
Lisa Annette Broadnax appeals from the district court’s order dismissing as interlocutory her appeal from a bankruptcy court order entered on March 18, 2003. Our review of the district court’s opinion discloses no reversible error. Accordingly, we affirm for the reasons stated by the district court. See Broadnax v. Homeside Lending, Inc., Nos. CA-03-319-2; BK-02-72575-DHA (E.D.Va. Aug. 4, 2003). We deny Broadnax’s motions to supplement the record and for judicial review and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

AFFIRMED

